16-2019-CA-001107-XXXX-MA
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Filing # 84758044 E-Filed 02/11/2019 10:13:43 PM

IN THE CIRCUIT COURT OF THE FOURTH JUDICIAL
CIRCUIT IN AND FOR DUVAL COUNTY, FLORIDA

LACEY PEACOCK, on behalf of himself

and all others similarly situated,
CASE NO.: 2019-CA-1107

CIVIL DIVISION CV-B

 

Plaintiffs,
CLASS REPRESENTATION

Vv. JURY TRIAL DEMANDED
NCC BUSINESS SERVICES, INC., and
BENTLEY GREEN APARTMENTS
INVESTORS LLC,

Defendants.

/
CLASS ACTION COMPLAINT

 

COMES NOW, Plaintiff, LACEY PEACOCK (hereinafter “Plaintiff’) on behalf of
himself and all others similarly situated, by and through his undersigned counsel, and sues
Defendant, NCC BUSINESS SERVICES, INC. (hereinafter “NCC”), and Defendant,
BENTLEY GREEN APARTMENTS INVESTORS LLC (hereinafter “BENTLEY”) and in
support thereof would allege:

1. This Court has jurisdiction over this matter because the amount in controversy
exceeds $15,000.00, exclusive of interest, costs, and attorney’s fees.

JURISDICTION AND VENUE

2. This court has subject matter jurisdiction over this action pursuant to Florida
Statutes § 559.77(1) and 15 U.S.C. § 1692k(d).

3. Venue is proper because the events and transactions underlying the basis for

this action occurred in Duval County, Florida.

ACCEPTED: DUVAL COUNTY, RONNIE FUSSELL, CLERK, 02/12/2019 11:10:02 AM
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PARTIES
4. Plaintiff is a natural person and resident of Duval County, Florida.
5. NCC is a Florida Profit Corporation doing business in Duval County, Florida,
and whose principal address is 9428 Baymeadows Road, Suite 200, Jacksonville, FL 32256.
6. NCC may be served through its registered agent REGISTERED AGENT
SOLUTIONS, INC., 155 OFFICE PLAZA DR., SUITE A, TALLAHASSEE, FL 32301.
7. BENTLEY is a Delaware Limited Liability Company doing business in Duval
County, Florida, and whose principal address is 5429 LBJ Freeway, Suite 800, Dallas, TX
75240.
8. According to the Florida Department of State, Division of Corporations
website!, BENTLEY GREEN APARTMENTS INVESTORS LLC is registered to use the
fictitious name “Bentley Green Apartments”.
9. BENTLEY may be served through its registered agent C T CORPORATION
SYSTEM, 1200 SOUTH PINE ISLAND ROAD, PLANTATION, FL 33324.
GENERAL ALLEGATIONS
10. ‘Plaintiff alleges violations of the Fair Debt Collection Practices Act, 15
U.S.C. § 1692, et seqg., (hereinafter the “FDCPA”) and the Florida Consumer Collection
Practices Act, Florida Statutes § 559.55, et seq., (hereinafter the “FCCPA”).
11. The alleged debt is $2,444.34 under an Apartment Lease Contract for
Apartment 1508, 9536 Princeton Square Blvd. S., Jacksonville, FL 32256, and which was

asserted by NCC to be owed to “Bentley Green/Milestone” (hereinafter the “Debt’”).

 

1 Florida Department of State, Division of Corporations,
http://dos.sunbiz.org/scripts/ficidet.exe?action=DETREG&docnum=G14000106174&rdocnum=G14000106174
(last visited Jan. 22, 2019).

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12. | Under the FCCPA, a “debtor” or “consumer” is defined as “any natural person
obligated or allegedly obligated to pay any debt.” Florida Statutes § 559.55(8) (emphasis
added).

13. Under the FDCPA, a “consumer” is defined as “any natural person obligated
or allegedly obligated to pay any debt.” 15 U.S.C. § 1692a(3) (emphasis added).

14. ‘Plaintiff is a “debtor” or “consumer” as defined in the FCCPA. Florida
Statutes § 559.55(8).

15. Plaintiffs a “consumer” as defined in the FDCPA. 15 U.S.C. § 1692a(3).

16. NCC is a “debt collector’ as defined in the FCCPA. Florida Statutes §
559.55(7).

17. BENTLEY is a “debt collector” as defined in the FCCPA. Florida Statutes §
559.55(7).

18. NCCisa “debt collector” as defined in the FDCPA. 15 U.S.C. § 1692a(6).

19. The alleged Debt which NCC and BENTLEY have attempted to collect from
Plaintiff is a “debt” or “consumer debt” as defined in the FCCPA, and originated in Duval
County, Florida. Florida Statutes § 559.55(6).

20. The alleged Debt which NCC and BENTLEY have attempted to collect from
Plaintiff is a “debt” or “consumer debt” as defined in the FDCPA, and originated in Duval
County, Florida. 15 U.S.C. § 1692a(5).

21. ‘Plaintiff and NCC first discussed the Debt over the telephone on or about

December 4, 2018. (hereinafter the “Call 1”).

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22. On December 19, 2018, Plaintiff’s attorneys, Justin Seth Drach, P.A.,
(hereinafter the “Firm”’) disputed the Debt when they sent a request for verification of the
Debt pursuant to the FDCPA to NCC. (Exhibit A).

23. Exhibit A asked NCC to “Please provide to us all correspondence that you
have sent our client.”

24. On January 2, 2019, NCC sent Exhibit B to the Firm.

25. Exhibit B is the only written communication that NCC has ever sent to
Plaintiff or the Firm.

26. According to the Duval County Property Appraiser website”, 9536 Princeton
Square Blvd. S., Jacksonville, FL 32256 is owned by BENTLEY. (Exhibit C).

27. The Fictious Names Act, Florida Statutes § 865.09, et seq., (hereinafter the
“FNA”) makes it unlawful to conduct business under a fictitious name until the name has
been properly registered under Florida’s Fictitious Name Act. The purpose of registration is
to allow the public to know who is really operating under the fictitious name.

28. BENTLEY is a “business” as defined by Florida Statutes § 865.09(1)(a).

29. Pursuant to the FNA, Florida Statutes § 865.09(9):

(a) Ifa business fails to comply with this section, neither the business

nor the person or persons engaging in the business may maintain any

action, suit, or proceeding in any court of this state with respect to or on

behalf of such business until this section is complied with. An action, suit,

or proceeding may not be maintained in any court of this state by any

successor or assignee of such business on any right, claim, or demand

arising out of the transaction of business by such business in this state
until this section has been complied with.

 

2 Duval County Property Appraiser, https://paopropertysearch.coj.net/Basic/Detail.aspx?RE=15268305 10 (last
visited Jan. 22, 2019).

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(b) The failure of a business to comply with this section does not impair

the validity of any contract, deed, mortgage, security interest, lien, or act

of such business and does not prevent such business from defending any

action, suit, or proceeding in any court of this state. However, a party

agerieved by a noncomplying business may be awarded reasonable

attorney fees and court costs necessitated by the noncomplying business.

30. By engaging in business under the unregistered fictitious name “Bentley
Green”, BENTLEY is in violation of the FNA, Florida Statutes § 865.09(3)(a).

31. Asa result of the Defendants’ unlawful conduct pertaining to the Debt as
described herein, Plaintiff has suffered statutory damages and actual damages, including but
not limited to the following: monetary damages, the continued suffering of emotional
damages and anxiety due to helplessness, and lost time.

32. 15 U.S.C. § 1692k(a) imposes civil liability on “any debt collector who fails
to comply with any provision” of the FDCPA.

33. BENTLEY is liable for the acts of its agent NCC.

34. BENTLEY is liable for the acts of its agent Milestone Management, LP.

35. All conditions precedent to this action have occurred or have been waived.

36. Plaintiff has retained the services of the undersigned attorneys and is required

to pay a reasonable fee for their services.

CLASS REPRESENTATION ALLEGATIONS

 

37. Pursuant to Florida Rule of Civil Procedure 1.220(a), (b) (2) and (b) (3),
Plaintiff brings this action on behalf of themselves and all others similarly situated.

38. The Class(es) are defined as:

Bentley Green Class (Count VI and VII): All persons in the State of

Florida against whom NCC attempted to collect a debt on behalf of
BENTLEY, where a creditor name other than “Bentley Green Apartments

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Investors LLC” or the fictitious name of “Bentley Green Apartments” as

authorized pursuant to the FNA was asserted, within the applicable limitations

period prior to the filing of the initial Complaint in this action through the date

Notice is issued to the Class.

FNA Class (Count VI): All persons in the State of Florida against whom

NCC attempted to collect a debt using a creditor name other than that of a

legal entity or fictitious name registered pursuant to the FNA, within the

applicable limitations period prior to the filing of the initial Complaint in this

action through the date Notice is issued to the Class.

39. The statute of limitations for the FDCPA claims in Count VI is 1 year
pursuant to 15 U.S.C. § 1692k(d).

40. The statute of limitations for the FCCPA claims in Count VII is 2 years
pursuant to Fla. Stat. § 559.77(4).

41. Plaintiff is unable to state the exact number of class members because that
information is solely in the possession of Defendants. However, the exact number of class
members, including the names and addresses of all class members, will be easily ascertained
through a review of Defendants’ business records. Upon information and belief, the putative
Classes are made up of hundreds of Florida tenants and consumers. On information and
belief, Plaintiff estimates that the classes will consist of hundreds of individuals. Therefore,
the putative Class is so numerous that joinder of all members would be impracticable.

42. Questions of law and fact common to the Class(es) exist and predominate over
questions affecting only individual members, including, inter alia, the following:

(a) | Whether Defendants BENTLEY and NCC violated the FCCPA by attempting

to collect debts on behalf of BENTLEY, asserting the identity of the creditor

to be other than “Bentley Green Apartments Investors LLC” or the fictitious

name of “Bentley Green Apartments” as authorized pursuant to the FNA;

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(b) | Whether Defendant NCC violated the FDCPA by attempting to collect debts
on behalf of BENTLEY, asserting the identity of the creditor to be other than
“Bentley Green Apartments Investors LLC” or the fictitious name of “Bentley
Green Apartments” as authorized pursuant to the FNA;

(c) Whether Defendant NCC violated the FCCPA by attempting to collect debts
on behalf of creditors, asserting the identity of the creditor to be other than the
legal entity name or a fictitious name authorized pursuant to the FNA;

(d) | Whether Defendant NCC violated the FDCPA by attempting to collect debts
on behalf of creditors, asserting the identity of the creditor to be other than the
legal entity name or a fictitious name authorized pursuant to the FNA;

43. The claims asserted by the named Plaintiff in this action are typical of the
claims of the members of the Classes because, upon information and belief, Defendant NCC
routinely collects consumer debts on behalf of BENTLEY and other creditors while failing to
identify the creditor by using the legal name of the entity or a registered fictious name.

44. __ Accordingly, the claims of the Plaintiff and of the Classes originate from the
same standardized conduct, practice, and procedure, on the part of Defendants.

45. Plaintiff possess the same interests and has suffered the same injuries as each
Class member because the use of a creditor name other than the legal entity name or a
registered fictitious name results in uniform damages. There are no individual facts which
distinguish the Plaintiff from other Class members that were subjected to Defendants’ illegal

conduct.

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46. The named Plaintiff will fairly and adequately represent and protect the
interest of the members of the Classes because he has no interest antagonistic to the Class he
seeks to represent, and because the adjudication of his claims will necessarily decide the
identical issues for other class members. There is nothing peculiar about the Plaintiff's
situation that would make him inadequate as the class representative.

47. The management of the class action proposed is not extraordinarily difficult,
and the factual and legal issues raised by this class action complaint will not require extended
contact with the members of the Classes because Defendants’ conduct was perpetrated on all
members of the Classes and will be established by common proof. Moreover, Plaintiff has
retained counsel competent and experienced in actions brought under consumer protection
laws.

48. A class action is superior to other methods for the fair and efficient
adjudication of this controversy because the damages suffered by each individual Class
member will be relatively modest compared to the expense and burden of individual
litigation. It would be impracticable for each Class member to seek redress individually for
the wrongful conduct alleged herein because the cost of such individual litigation would be
cost prohibitive as individual statutory damages for each FCCPA and FDCPA violation are
capped at $1,000.00 or 1% of the defendants’ net worth. It would be difficult, if not
impossible, to obtain counsel to represent each Class member on an individual basis for such
small claims. More importantly, the vast majority of Class members are not aware that using
a name other than the creditor’s legal name or a registered fictitious name violates the

FCCPA and FDCPA. There will be no difficulty in the management of this litigation as a

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class action as the legal issues affect a standardized pattern of conduct by Defendants and
class actions are commonly used in such circumstances.
49. _ For purposes of the claims brought in this action, the applicable standard is the
“least sophisticated” consumer test. See Jeter v. Credit Bureau, Inc., 760 F.2d 1168, 1172-75
(11th Cir. 1985); see also Fla. Stat. § 559.552 (the FCCPA looks to the FDCPA for
guidance).
COUNT I— VIOLATION OF FCCPA, F.S § 559.72(9)
NCC BUSINESS SERVICES, INC.
On behalf of Plaintiff
Plaintiff realleges those allegations contained within paragraphs 1-36 above and
incorporates them herein by this reference.
50. The FCCPA, Fla. Stat. § 559.72(9) makes it unlawful to:
Claim, attempt, or threaten to enforce a debt when such person
knows that the debt is not legitimate, or assert the existence of
some other legal right when such person knows that the right does
not exist.
$51. | NCC has violated the FCCPA, Florida Statute § 559.72(9) by claiming in Call
1 and Exhibit C that the Debt had a $2,444.34 balance, an amount in excess of amounts
actually owed.
COUNT II —- VIOLATION OF FDCPA, 15 U.S.C. § 1692e
NCC BUSINESS SERVICES, INC.
On behalf of Plaintiff

Plaintiff realleges those allegations contained within paragraphs 1-36 above and

incorporates them herein by this reference.

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52. The FDCPA at 15 U.S.C. § 1692e makes it illegal for a debt collector to “use
any false, deceptive, or misleading representation or means in connection with the collection
of any debt.”

53. | NCC violated 15 U.S.C. § 1692e by using a false, deceptive, and misleading
representation to collect the Debt, by claiming in Call 1 and Exhibit C that the Debt had a
$2,444.34 balance, an amount in excess of amounts actually owed.

COUNT II —- VIOLATION OF FDCPA, 15 U.S.C. § 1692g(a)

NCC BUSINESS SERVICES, INC.
On behalf of Plaintiff

 

Plaintiff realleges those allegations contained within paragraphs 1-36 above and
incorporates them herein by this reference.
54. The FDCPA at 15 U.S.C. § 1692g(a) requires as follows:

Within five days after the initial communication with a consumer
in connection with the collection of any debt, a debt collector shall,
unless the following information is contained in the initial
communication or the consumer has paid the debt, send the
consumer a written notice containing—

(1) the amount of the debt;

(2) the name of the creditor to whom the debt is owed;

(3) a statement that unless the consumer, within thirty days after
receipt of the notice, disputes the validity of the debt, or any
portion thereof, the debt will be assumed to be valid by the debt
collector;

(4) a statement that if the consumer notifies the debt collector in
writing within the thirty-day period that the debt, or any portion
thereof, is disputed, the debt collector will obtain verification of
the debt or a copy of a judgment against the consumer and a copy
of such verification or judgment will be mailed to the consumer by
the debt collector; and

(5) a statement that, upon the consumer’s written request within
the thirty-day period, the debt collector will provide the consumer
with the name and address of the original creditor, if different from
the current creditor.

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55. | NCC violated the FDCPA by failing to send a communication that complied
with 15 U.S.C. § 1692g(a). See Bishop v. Ross Earle & Bonan, P.A., 817 F.3d 1268, 1273
(11th Cir. 2016) (“Only by applying § 1692g to attorney communications can we ensure that
consumers receive both legal representation and the full protections intended by Congress.”)

56. Exhibit B does not comply with 15 U.S.C. § 1692g(a).

COUNT IV — VIOLATION OF FDCPA, 15 U.S.C. § 1692e
NCC BUSINESS SERVICES, INC.
On behalf of Plaintiff

Plaintiff realleges those allegations contained within paragraphs 1-36 above and
incorporates them herein by this reference.

57. |The FDCPA at 15 U.S.C. § 1692e makes it illegal for a debt collector to “use
any false, deceptive, or misleading representation or means in connection with the collection
of any debt.”

58. NCC violated 15 U.S.C. § 1692e by failing to provide meaningful disclosure
of the identity of the alleged creditor during Call 1 or when it sent the Firm Exhibit C.

COUNT V— VIOLATION OF FCCPA, E.S § 559.72(9)
BENTLEY GREEN APARTMENTS INVESTORS, LLC
On behalf of Plaintiff

Plaintiff realleges those allegations contained within paragraphs 1-36 above and
incorporates them herein by this reference.

59. The FCCPA, Fla. Stat. § 559.72(9) makes it unlawful to:

Claim, attempt, or threaten to enforce a debt when such person
knows that the debt is not legitimate, or assert the existence of

some other legal right when such person knows that the right does
not exist.

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60. | NCC has violated the FCCPA, Florida Statute § 559.72(9) by claiming in Call
1 and Exhibit C that the Debt had a $2,444.34 balance, an amount in excess of amounts
actually owed.

61. | BENTLEY is liable for the acts of its agent NCC.

COUNT VI- VIOLATION OF FDCPA, 15 U.S.C. § 1692e
NCC BUSINESS SERVICES, INC.
On behalf of Plaintiff, Bentley Green Class, and FNA Class

Plaintiff realleges those allegations contained within paragraphs 1-49 above and
incorporates them herein by this reference.

62. The FDCPA at 15 U.S.C. § 1692e makes it illegal for a debt collector to “use
any false, deceptive, or misleading representation or means in connection with the collection
of any debt.”

63. NCC violated 15 U.S.C. § 1692e during Call 1 and when it sent the Firm
Exhibit C by representing that the creditor is Bentley Green/Milestone when it knows the true
identity of BENTLEY.

64. NCC violated 15 U.S.C. § 1692e by using a creditor name other than that of
the legal entity or a registered fictitious name to collect the Debt, the debts of the Bentley
Green Class, and the debts of the FNA Class.

COUNT VII — VIOLATION OF FCCPA, F.S § 559.72(9)
BENTLEY GREEN APARTMENTS INVESTORS, LLC
On behalf of Plaintiff and Bentley Green Class
Plaintiff realleges those allegations contained within paragraphs 1-49 above and

incorporates them herein by this reference.

65. |The FCCPA, Fla. Stat. § 559.72(9) makes it unlawful to:

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66.

Claim, attempt, or threaten to enforce a debt when such person
knows that the debt is not legitimate, or assert the existence of
some other legal right when such person knows that the right does
not exist.

BENTLEY violated Fla. Stat. § 559.72(9) by using a false, deceptive, and

misleading representations to collect the Debt, to wit, by using the unregistered fictitious

name “Bentley Green” during the formation of lease agreements that result in debts, during

the collections of the Debt, and during the collection of Bentley Green Class debts.

WHEREFORE, Plaintiff, individually and on behalf of the Classes, prays for the

following relief:

(a)

(b)

(c)

(d)

(e)

(f)
(g)

an order certifying this case as a class action on behalf of the Classes as
defined above, and appointing Plaintiff as the representative of the Classes
and his counsel as Class Counsel;

award Plaintiff actual damages, pursuant to Fla. Stat. § 559.77(2);

award Plaintiff additional statutory damages of $1,000 for violation of the
FCCPA, pursuant to Fla. Stat. § 559.77(2);

award Bentley Class and FNA Class members an aggregate award of statutory
damages up to the lesser of $500,000 or | percent of the defendant’s net worth
pursuant to Fla. Stat. § 559.77(2);

award Plaintiff costs of this action together with reasonable attorney’s fees,
pursuant to Fla. Stat. § 559.77(2);

award Plaintiff actual damages, pursuant to 15 U.S.C. § 1692k(a)(1);

award Plaintiff additional statutory damages of $1,000 per FDCPA violation,

pursuant to 15 U.S.C. § 1692k(a)(2)(A);

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(h) award FNA Class members the lesser of $500,000 or 1 per centum of the net

worth of Defendant NCC pursuant to 15 U.S.C. § 1692k(a)(2)(B);

(1) award Plaintiff costs of this action together with reasonable attorney’s fees,

pursuant to 15 U.S.C. § 1692k(a)(3);

(j) prejudgment interest; and

(k) all other relief which this Court deems just and proper.

JURY TRIAL DEMAND

Plaintiff hereby demands a trial by jury on all issues so triable.

Dated: February 11, 2019.

BY:

Lacey Peacock vs. NCC Business Services, Inc., et al.

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Respectfully submitted by:

THOELE|DRACH

 

Justin Seth Drach, Esq.

Florida Bar No. 103016

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Amanda Marie Thoele, Esq.
Florida Bar No. 75118

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Jacksonville, FL 32224
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Facsimile: (904) 306-1355
Attorneys for Plaintiff and all
others similarly situated

 
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THOELE DRACH
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Jacksonville, Florida 32216

(904) 600-4384
(904) 306-1355 (facsimile)

December 19, 2018

NCC Business Services, Inc.
9428 Baymeadows Road, Suite 200
Jacksonville, FL 32256

Tel: (888) 880-6020
Fax: (904) 733-2777

Via U.S. Mail and facsimile
RE: Representation of Lacey Peacock
NCC Business Services, Inc.:

Please be advised that our firm has been retained by Lacey Peacock concerning any
accounts that have been placed for collection with you for any alleged debts arising from an
apartment at Bentley Green Apartments, 8214 Princeton Square Blvd E, Jacksonville, FL 32256.

Pursuant to the Fair Debt Collection Practices Act, my client disputes the alleged debt,
requests verification of the alleged debt through the production of account statements, the
assignment documents, and the lease agreement, and hereby advises that the tradeline must be
removed from their credit report. Please provide to us all correspondence that you have sent our
client.

Best Regards,

Justin Seth Drach, Esquire

EXHIBIT

A

exhibitsticker.com

 
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NCC Business Services, Inc.
9428 Baymeadows Road
Suite 200,
Jacksonville, FL 32256.
Please visit our website at www.NccPay1.com
If you have questions, please call 888-880-6020
1/2/2019
Justin Drach
2120 CORPORATE SQUARE BLVD

SUITE 17
JACKSONVILLE, FL 32216

RE: “BENTLEY GREEN/MILESTONE

Current balance: $2,444.34
NCC Reference # 3811116

Dear Justin Drach,

Please find the enclosed detailed information to substantiate the debt that the above mentioned client
has placed in our office for collections.

If you have additional questions, please feel free to contact our office toll free at
888-880-6020.

This is an attempt to collect-a debt, and any information obtained will be used for that purpose.

Sincerely,

NCC Business Services, Inc.

 

EXHIBIT

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Move-out Statement

 

 

02/09/16

Late Charges, 5 days @ $10.00/day

Lacy Peacock: Resident Code: t0177291
153 West 7t Street Property: Bentley Green(4314)
: Unit: 31508
Jacksonville, FL 32206 Move In Date: 01 /24/15
Move Out Date: 02/02/16.
Tel Num(Office)  (229)456-0298
Tel Num(Home) (229)456-0298
Date Description Charges ‘Payments Balance °
Balance Forward 02/01/2016 1,649.14 |
02/01/16 Bill Processing Fee 3.40 1,652.54
02/01/16 —_ Pest Control Fee 01/01/16-01/31/16 1.50 1,654.04
02/01/16 Trash 01/01/16-01/31/16 10.20 1,664.24
02/01/16 Water/Sewer 11/15/15-12/15/15 50.46 1,714.70
02/01/16 Rent (02/2016) 24 days 680.28 2,394.98
02/01/16 — :Prog Gen Reverse for chg# 20511218 Charged In -75.00 2,319.98
Error.
02 /01/16 :Prog Gen Reverse for chg#.20511219 ‘Charged In -50.00 2,269.98
Error
02/02/16 — :Security Deposit credit -100.00 2,169.98
02/02/16 Rent (02/2016) Credit 22-days -623.59: ‘1,546.39
02/02/16 Final Pest Control 2/1/16- 2/2/16 0.10 1,546.49
02/02/16 Final Trash 2/1/16- 2/2/16 0.67 1,547.16
02/02/16  (NoAttemptToClean 25.00: 1,572.16
02/02/16 Trash Removal (3 Bags) 30.00 1,602.16
02/02/16 Furniture Removal (Headboard) 10.00 1,612.16
02/02/16 Rent Responsible until 2/23/16 To Fulfill Lease 623.59 2,235.75
Agreement
02/02/16 Final Service Fee 3.40 2,239.15
02/02/16 Final Water/Sewer 12/16/15- 2/2/16 80.19 2,319.34
02/04/16 Late Charges 75.00 2,394.34
50.00

2,444,34

 

 

 

‘
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Case 3:19-cv-00303-TJC-JK Document 1-1 Filed 03/14/19 Page 18 of 24 PageID 23

“

Py aaa
Vagrant

    

 
 
    

FAR

  

Date of Lease Contract: Janvary 23, 20185.
Le

 
  

3 i! cr RS Nae sartth 4
1, PARTIES, This Lease Contract (sometimes referred to as the "Iease") is
between you, the resicent(s) (ist all people signing the Lease Contract):
Lacy Peacock, Jod? Swanson

  

 
 

 

 

and us, the owner:

 

Bentley Green

 

 

(nante of apartment community or tlle folder). You've agreed to rent
ApartmentNo, 1508 ,at9536 Princeton S

Blvd § (street address)
in Jacksonville (city)
Florida, 32256 (zip code}for use as a private
residence only, The terms “you" and "your" refer to’all residents ‘listed
above. The terms "we," "us," and "our" refer to the owner listed above
(oc any of owner's successors’ in interest or assigns). Written notice to or
from. our managers constitutes notice to or from us. If anyone else’ has
guaranteed performance of this Lease Contract, a separate Lease Contract
Guaranty for cach guarantor is attached.

The Q Owner or & Manager of these apartments ts Mile stone
Management, LP :

 

 

whose address is_ 8214 Princeton Square Bivd E

Jacksonville, FL 32256 :
: Such person or company is’
authorized to receive natices and demands in the landlord's behalf,

A lease termination notice must be givestin writing. Notice to the landlord
must be delivered to the management office at the a parlment community
or any other address designated by management as follows: _82 14
Princeton Square Blvd E Jacksonville , FL
32256 : :
Notice to the tenant must be delivered to the Residents address as Shown.
above,

2. OCCUPANTS. The apartment will be dceupied only by youand (list all
other occupants tot signing the Lease Contract): -
None.” ’ :

 

 

No one else may occupy the apartment, Persons not listed above mustnok:
stay in the apartment for more than consecutive days without
our prior written consent, and no more than twice that many days in any
one month. If the previous space isn't filled in, tteo days per month is the limil:

3, LEASE TERM AND, TERMINATION NOTICE REQUIREMENTS,
The initial term of the Lease Contract begins on the 24th — day of:
dd

January. a.2015-_, and ends at midnight the _ 23x
day.of Fe! ruary 3 2016 __. This Lease Contract. wil!

automatically renew month-to-month unless either party gives at least
days' written notice of termination or intent to move-out as
required by this paragraph and paragraph 37. If the nuraber of days
isn't filled in, at least 30 days’ notice is required. In the event you fail to
provide us with the required number of days’. written notice of
termination and intent to vacate coinciding with the lease expiration
date, as required by this paragra ph and paragraph 37, you acknowledge
and agree that you shall be Jiable to us for liquidated damages in the
stim of $ 822.00 (equal to one month's rent) i accordance
with Fla. Stat. §83.575(2}. This liquidated damages amountis exclusive to
insufficient notice under this paragraph and paragraph 37, and does

 

 

not Jimit collection rights with regard to other amounts potentially .

owed to us, If the lease term Is not a month-to-month. tenancy, we
must notify you with written notice no later than 36 days
before the end of the lease term if the lease will not be renewed

Month-to-Month Tenancies: In the event this Lease Contract renews
ona month-to-month basis, you must pay the amount of rent we charge
at the time the month-to-month tenancy commences pursuant to this
paragraph and paragraph 15, inclusive of any applicable month-to-month
fees and/or premiums. We may change your rent at any time thereafter
during a month-to-month tenancy by giving you no less than 30 days'
written notice. You will be required to abide by all notice requirements

set forth in the lease and remain liable to pay all other applicable charges
due under the Jease during your month-to-month tenancy uniess

specifically changed in wriling. All sums due under this paragraph shall

“be additional rent. We may require you to sign an addenduin written for

“month-to-month tenants, Either party may terminate a month-to-month
tenancy by giving the other party written notice no Jater than 15 days’
prior to the end of the monthly rental period. If you fail to provide us at

least 15 days’ written notice to terminate a month-to-month tenancy prior
to the end of the monthly rental period, you shall be liable to us for an-
additional 1 month's rent. °

4. SECURITY DEPOSIT.. Unless modified by addenda, the total security
deposit at the time of execution of this Lease Contract for all residents jn.
the apartment is $ 1 0 , due on or before the date this
Lease Contract is signed.

cacy Peacock, Jodi. Swanson :
© 2014, National Apartment Association, Inc. - 9/2014, Florida

 
  
    

. KEYS AND FURNITURE... You will bé provided 2 apartment

 

 

NATIONAL

Apartment Lease Contract APARTMENT

ASSOCIATION.

    

  
 

Any security deposit or advance rent you paid is being held in one of the
following three ways as indicated below [Landlord check one option:

1. Ina separate NON-INTEREST bearing account for your benefitin
the following bank: Bank of America

whose address is_9000_ Southside Blvyad, Bldg.

si
200 Jacksonville, FL. 32256
;0OR

 

()2 Ina separate INTEREST bearing account for your benefit in the
, following bank:,

 

e

 

whose address is

 

 

 

If an interest bearing account, you will be entitled to receive and
collect interest in an amount of at least 75 percent of the annualized
average interest rate payable on'such account or interest at the rate
of 5 percent per year, simple interest, whichever the landlord elects,

0 3. Ina commingled account at the following bank

 

whose address is

 

 

 

_. ’
provided that the landlord posts a surety bond with the county
or state, as required by law, and pays you intereston your securily
deposit or advance rent at the rate of 8 percent per year simple
interest.. :

: Tnitlals. of Resident. Resident acknowledges ‘recelving a
copy of ES. 83.49(2)(d) which provides as follows:

YOUR LEASE REQUIRES PAYMENT OF CERTAIN DEPOSITS, THE
LANDLORD. MAY -TRANSFER. ADVANCE: RENTS TO THE:
LANDLORD'S ACCOUNT AS ‘THEY ARE DUE AND WITHOUT
NOTICE. WHEN YOU MOVE OUT, YOU MUST GIVE THE LANDLORD
YOUR NEW ADDRESS SO THAT THE LANDLORD CAN SEND YOU
NOTICES REGARDING YOUR DEPOSIT. THE LANDLORD MUST
MAIL YOU NOTICE, WITHIN 30 DAYS AFTER YOU MOVE OUT, OF
THE LANDLORD'S INTENT TO IMPOSE A CLAIM AGAINST THE
DEPOSIT. IF YOU DO NOT REPLY TO THE LANDLORD STATING
YOUR OBJECTION TO THE CLAIM WITHIN 15 DAYS AFTER RECEIPT
OF THE LANDLORD'S NOTICE, THE LANDLORD WILL COLLECT
THE CLAIM AND MUST MAIL YOU-THE REMAINING DEPOSIT, IF
v .

 

IK THE LANDLORD FAILS TO. TIMELY MAIL YOU NOTICE, ‘THE
LANDLORD MUST RETURN THE DEPOSIT BUT MAY LATER FILE A
LAWSUIT AGAINST YOU FOR DAMAGES. IF YOU FAIL TO TIMELY
OBJECT TO A CLAIM, THE LANDLORD MAY COLLECT FROM THE
DEPOSIT, BUT YOU MAY LATER FILE'A LAWSUIT CLAIMING A
REFUND,

YOU SHOULD ATTEMPT TO INFORMALLY RESOLVE ANY DISPUTE
BEFORE FILING A LAWSUIT, GENERALLY, THE PARTY IN WHOSE
FAVOR A JUDGMENT IS RENDERED WILL BE AWARDED COSTS AND

_ ATTORNEY FEES PAYABLE BY THE LOSING PARTY. ~

“THIS DISCLOSURE IS BASIC, PLEASE REFER TO PART II OF CHAPTER
-83, FLORIDA STATUTES, TO DETERMINE YOUR LEGAL RIGHTS AND

OBLIGATIONS.

key(s), L mailbox key(s), and _" other access devices
for - Your apartment will be {check one}:
©) furnished or Q) unfurnished. See paragraph 9, Locks and Latches,

RENT AND CHARGES. Unless inoditied by addenda, you will pay

‘$__822.00 per month for rent, payable in advance and without

“demand:

& at the on-site manager's office, or “
& at our online payment site, or

@ at_www. yourresidentlounge.com : .

Prorated rentof$ 212.13 _ is due forthe remainder of feheck one]:
@)istmonty or QO 2nd month, on, ’ :

 

 

Otherwise, you must pay your rent on or before the 1st day ofeach month

(due date) with no grace period. Cash is unacceptable without our prior
written permission. You must not withhold or offset rent unless authorized
by statute, We may, at our option, require at any time that you pay all rent
and other sums in cash, certitied or cashier's check, money order, or one
monthly check rather than multiple checks, “If you don't pay all rent on
or before the___3rd___ day of the month, you'll pay an: initial late
charge of $ 7 plus a Jate charge of § 1 .
per day after that date until paid in full. Daily late charges will not exceed
; 01232015365201FL01042415

Page 1 of 7

 

LY] This document was executed via the NAA E-signature Syslem - 1D: 67839096 |

 
Case 3:19-cv-00303-TJC-JK Document 1-1 Filed 03/14/19 Page 19 of 24 PageID 24

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|

SBS0080RBO000BBS800

You'll be Jiable to us ‘for any charges for replacing all keys and access

devices referenced in paragraph 5 if you fatl to return them on or before.

your actual move-out date. f

42. DEPOSIT RETURN, SURRENDER, AND ABANDONMENT. We will
mail you your security ceposit refund within fifteen (15) days after
surrender or abandonment if we do not intend to impose a claim on the
security deposit. If we do intend to impose a claim. on the security deposit
we shall give you thirty (30) days written notice by certified mail to your
last known mailing address stating the reason for imposing the claim.

‘You have surrendered the apartment when all apartment keys and access
devices listed in paragraph 5 have been turned in where rentis paid.

 
 

43. ORIGINALS AND ATTACHMENTS. This Lease Contract has been
executed in multiple originals, with original signatures—one for you and
one or more for us. Our rules and community policies, If any,.will be
attached to the Lease Contract and given to you at ‘signing. When an
laventory and Condition form is completed, both you and we should
retain a copy. The items checked below are attached to this Lease Contract
and are binding even if not initialed or signed.

Animal Addendim

Inventory and Condition Form
Mold Addendum .”

Enclosed Garage Addendum
Community Policies Addendum
Lease Contract Guaranty (_

Notice of Intent to Move Out Form
Parking Permit or Sticker (quantity: )

Sateltite Dish ox Antenna Addendum

Asbestos Addendum (if asbestos is present)

Lead Hazard Information and Disclosure Addendwn (federal)
Utility Addendum a :

Remote Control, Card or Code Access Gate Addendum
Intrusion Alarm Addendum . ,

Other Milestone Addendums-
Other Bad Bug/Choice of Damages

guaranties, if more than one)

a

An apartment Is also considered “abandoned” if you are absent from the
aparnent or premises for at least fifteen (1S) days, unless the rent is
current or you have notified us in writing of your intended absence. *

Suerender, abandonment, and judicial eviction end your right of
possession for ail purposes and gtves us the immediate right to: clean up,
inake repairs in, and relet the apartment: determine any security deposit
deductions; and remove property left in the apartment, Surrender,
abandonment, and judicial eviction affect your rights to property left in
the apartment (parapraph 13), but do not affect our mitigation obligations
(paragraph 32)...

 

 

You are legally bound by this document.”
Read it carefully before signing.

 

 

 

 

 

 

Resident or Resi dents (all sign below}

 

 

 

 

“Owner or Owner's Representative (signing on behalf of owner)

 

Address and phone number of owner's representative for notice purposes

8214 Princeton Square Blvd E

Jacksonville, FL 32256

~{904) 731-8901

Name and address of locator service (if applicable)

 

 

 

Date form is filled out (same as on fop of page 1) 01/23/ 2015...

 

SPECIAL PROVISIONS (CONTINUED FROM PAGE 2)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Milestone Management, LLC
Lacy Peacock, Jodi Swanson

© 2014, National Apartment Association, Ine. Florida / National Apartment Association Official Form A-14, September 2014

012320153 65207FLOL042415

Page 7 of7 @.

 

{Y] ‘This document was executed via the NAA E-signalure System -10: 67839006 |

 

woe ene le kien ie:

 
 

 

. Electronic Signature System

Riionat Aine
ASSOCIATION

i

‘The: following information ‘states that tne identified document has been -signed ‘electronically by. the
- parties detailed below;

Resident Name:

E-mail:

Date Signed:

Date Lead Form Signed*:
Signer Key:

Signer IP Address:
Browser Type:

Resident Name:

E-mait:

Date Signed:

Date Lead Form Signed*:
Signer Key:

Signer IP Address:
Browser Type:

Resident Name:
E-mall:
Date Signed:

“Date Lead:-Form Signed*:

Signer Key:
Signer IP Address:
Browser Type:

Resident Name:

E-mail:

Date Signed:

Date Lead Form Signed*;
Slgner Key:

Signer IP Address;
Browser Type:

Owner/Owner's Rep:
Date Signed:

Document ID:
Lease Contract Dated:

Total Pages (not including receipt):

‘Forms Included:

* If applicable.

Lacy Peacock
Laceypeacock@hotmail.com
1/24/2015° 3:04:00 AM. (CST).

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174 2224.129.97
Mozilla/5.0 (iPhone;: CPU iPhone 0S 7 1:2 like Mac OS X) AppleWebkit/537,

51,2° (KHTML, Like’ Gecko) Version/7.0 Mobile/11D257 Safari/9537.53

Jodi. Swanson’
josiswansongmail,com
1/23/2015 4:21:26 PM (CST)

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108.87.174.10

-Mozilla/5.0 (Linux; Android 4.4.4; XT21028 Build/KXB21.14-L1.41)
AppleWebKit/537. 36 (KHTML, like Gecko) Chrome/40, 0.2214.89 Mobile Safari/

Barbara Prindle .
1/24/2015: 11:14:08 AM: (csr)

67839096

1/23/2015

24

Apartment.Lease Form

Bed Bug Addendum

Mold. Information and prevention Addendum
All-In-One Utility Addendun’

Asbestos Addendum. ~

Satellite Dish or Antenna Addendum
Enclosed Garage Addendum

Community Policies, ‘Rules, & Regulations
Community Policies Milestone :
Renter's Liability Insurance Addendum
Credit/Debit Card’ or ACH Payment Program Acknowledgement

 

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Property Appraiser - Property Details

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BENTLEY GREEN APARTMENTS INVESTORS LLC El
C/O MILESTONE MANAGEMENT

eae eM mh AN MD Le)

DALLAS, TX 75240

12373-00491

9536 S PRINCETON SQUARE BLVD
Property Detail

Primary Site Address
9536 S PRINCETON SQUARE BLVD 100
Jacksonville FL 32256

Official Record Book/Page

Value Summary

Tile #
7526

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

RE # 152683-0510 2018 Certified | 2019 In Progress

Tax District GS Value Method | Income Income

Property Use 0300 Multi-Family Units 10 or More Total Building Value | $0.00 $0.00

# of Buildings 32 Extra Feature Value | $0.00 $0.00

Se Land Value (Market) | $6,155,394.00 | $6,155,394.00
Legal Desc. For full legal description see -
Land & Legal section below Land Value (Aqric.) | $0.00 $0.00

Subdivision 00000 SECTION LAND Just (Market) Value | $21,319,500.00 | $21,377,300.00

Total Area 1011808 Assessed Value | $21,319,500.00 | $21,377,300.00
The sale of this property may result in higher property taxes. For more information go Cap Diff/Portability Amt | $0.00 / $0.00 $0.00 / $0.00
to Save Our Homes and our Property Tax Estimator . "In Progress’ property values, Exemptions | $0.00 See below
exemptions and other supporting information on this page are part of the working tax
roll and are subject to change. Certified values listed in the Value Summary are those Taxable Value | $21,319,500.00_| See below

certified in October, but may include any official changes made after certification
Learn how the Property Appraiser’s Office values property.

+
Taxable Values and Exemptions — In Progress fe

 

 

 

 

 

 

 

If there are no exemptions applicable to a taxing authority, the Taxable Value is the same as the Assessed Value listed above in the Value

Summary box.

County/Municipal Taxable Value
No applicable exemptions

SJRWMD/FIND Taxable Value
No applicable exemptions

School Taxable Value
No applicable exemptions

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

  

 

Sales History ff
Book/Page Sale Date Sale Price Deed Instrument Type Code Qualified /Unqualified Vacant/Improved
12373-00491 3/23/2005 $100.00 MS - Miscellaneous Unqualified Improved
10533-00721 6/13/2002 $100.00 MS - Miscellaneous Unqualified Improved
08281-01547 2/8/1996 $11,300,000.00 SW - Special Warranty Unqualified Improved
08194-00868 10/10/1995 $11,300,000.00 SW - Special Warranty Qualified Improved
07244-01831 12/30/1991 $8,950,000.00 WD - Warranty Deed Unqualified Improved
07122-01604 6/7/1991 $100.00 QC - Quit Claim Unqualified Improved
06305-00312 3/23/1987 $12,750,000.00 WD - Warranty Deed Unqualified Improved
05838-01985 7/12/1984 $1,012,222.00 SW - Special Warranty Unqualified Vacant
05715-00999 10/24/1983 $990,000.00 SW - Special Warranty Unqualified Vacant

Extra Features fe]
LN Feature Code Feature Description Bldg. Length Width Total Units Value
1 FWIC1 Fence Wrought Iron 30 0 0 195.00 $2,944.00
2 FPPC6 Fireplace Prefab 1 0 0 324.00 $197,627.00
3 PVAC1 Paving Asphalt 1 0 0 5,850.00 $4,037.00
4 PYCC1 Paving Concrete 1 0 0 225,944.00 $173,977.00
5 PLXC5 Pools Sq Ft 30 0 0 851.00 $10,850.00
6 CPAC2 Carport Aluminum 1 0 0 50,616.00 $103,763.00
7 FCLC1 Fence Chain Link 31 0 0 340.00 $1,015.00
8 PLXC5 Pools Sq Ft 31 0 0 851.00 $10,850.00
9 FwIcl Fence Wrought Iron 31 0 0 168.00 $3,064.00
10 FCLC1 Fence Chain Link 31 0 0 75.00 $876.00
11 LPCC1 Light Pole Concrt 1 0 0 7.00 $1,473.00
12 LITC1 Lighting Fixtures 1 0 0 12.00 $2,111.00
13 FwDC1 Fence Wood 1 0 0 270.00 $902.00
14 FVYC1 Fence Vinyl 14 0 0 715.00 $11,680.00

Land & Legal f

Land Legal
LN | Code | Use Description Zoning | Front} Depth| Category | Land Land Land Value LN | Legal Descriptio

Units | Type EXHIBIT
Cc
https://paopropertysearch.coj.ne... 1/22/2019 11

exhibitsticker.com

 
Property Appraiser - Property Details

Page 2 of 3

Case 3:19-cv-00303-TJC-JK Document 1-1 Filed 03/14/19 Page 22 of 24 PagelD 27

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

1_ | 26-35-27E
RES MD 8-19 UNITS PER EE
1 | 0101 AC RMD-D | 0.00 | 0.00 Common | 23.23 Acreage $6,155,394.00) 5 PT E1/2 OF NE1/4 RECD O/R
8281-1547
+r]
Buildings fr
Building 1
Building 1 Site Address i
9536 S PRINCETON SQUARE BLVD Unit 100 Element Code _| Detail
Jacksonville FL 32256 Exterior Wall 8 8 Horizontal Lap — = me
Exterior Wall 16 16 Frame Stucco TO od 0.3}
Building Type 0301 - APTS 1-3 STORY Roof Struct 4 4 Wood Truss Bd y
Year Built 1985 Roofing Cover 3 3 Asph/Comp Shng jit =m
Building Value __| $413,941.00 Interior Wall 5 5 Drywall FA ¢
te beet tel
Int Flooring 14 14 Carpet ws AE»
Gross Heated Effective Int Flooring 8 8 Sheet Vinyl
Type Area Area Area
Heating Fuel 4 4 Electric
Base Area 2867 2867 2867 Heating Type 4 4 Forced-Ducted
toni upper |og67 ‘| 2867 2867 Air Cond 3 3 Central
: Comm Htg & AC 1 1 Not Zoned
Fin Screened 66 0 36
Porch Comm Frame 4 4 D-Wood Frame
Fin Screened
66 0 36
Porch Element Code
Finished 18 0 10 Bedrooms 1.000
Storage
Finished 8 0 10 Baths 1.000
Storage Stories 2.000
i Rooms / Units 12.000
Fin Screened 66 Q 36 / Uni
ord Avg Story Height 9.000
Fin Screened
Porch 66 0 36
Fin Screened
Porch 66 0 36
Fin Screened 66 0 36
Porch
Base Area 1461 1461 1461
Finished upper
story 1 1461 1461 1461
Canopy 205 0 62
Canopy 205 0 62
Fin Screened
Porch 66 0 36
Fin Screened
Porch 66 0 36
Fin Screened
Porch 66 0 36
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Porch 66 0 36
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Storage 18 0 10
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Storage 18 0 10
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Case 3:19-cv-00303-TJC-JK Document 1-1 Filed 03/14/19 Page 23 of 24 PageID 28

 

 

 

 

 

 

 

 

 

 

 

Page 3 of 3

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Finished
Storage
Finished 18 0 10
Storage
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Storage 18 0 10
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Finished
Storage 18 0 10
Total 10154 8656 9356
2018 Notice of Proposed Property Taxes Notice (TRIM Notice)
Taxing District Assessed Value Exemptions Taxable Value Last Year Proposed Rolled-back
Gen Govt Ex B&B $21,319,500.00 $0.00 $21,319,500.00 $235,874.65 $243,935.59 $230,745.21
Public Schools: By State Law $21,319,500.00 $0.00 $21,319,500.00 $87,682.60 $86,237.38 $85,305.72
By Local Board $21,319,500.00 $0.00 $21,319,500.00 $46,521.24 $47,926.24 $45,259.17
FL Inland Navigation Dist. $21,319,500.00 $0.00 $21,319,500.00 $659.68 $682.22 $643.85
Water Mgmt Dist. SIRWMD $21,319,500.00 $0.00 $21,319,500.00 $5,615.52 $5,462.06 $5,462.06
Gen Gov Voted $21,319,500.00 $0.00 $21,319,500.00 $0.00 $0.00 $0.00
School Board Voted $21,319,500.00 $0.00 $21,319,500.00 $0.00 $0.00 $0.00
Totals $376,353.69 $384,243.49 $367,416.01
Just Value A d Value Exemptions Taxable Value
Last Year | $20,694,500.00 $20,614,990.00 $0.00 $20,614,990.00
Current Year | $21,319,500.00 $21,319,500.00 $0.00 $21,319,500.00

 

 

 

2018 TRIM Prope Record Card (PRC

 

This PRC reflects property details and values at the time of the original mailing of the Notices of Proposed Property Taxes (TRIM

Notices) in August.

Property Record Card (PRC)

The PRC accessed below reflects property details and values at the time of Tax Roll Certification in October of the year listed.

2018

 

[2017
2016

 

[2015
2014

 

¢ To obtain a historic Property Record Card (PRC) from the Property Appraiser's Office, submit your request here: fl

More Information

‘contact Us | Parcel Tax Record | GIS Map | Map this property on Google Maps | City Fees Record

 

https://paopropertysearch.coj.ne...

1/22/2019

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sunbiz.org - Florida Department of State Page 1 of 1
Case 3:19-cv-00303-TJC-JK Document 1-1 Filed 03/14/19 Page 24 of 24 PageID 29

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ee AMY) Mo ECM ETL

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Fictitious Name Detail

Fictitious Name
BENTLEY GREEN APARTMENTS

Filing Information
Registration Number G14000106174

 

 

 

Status ACTIVE
Filed Date 10/20/2014
Expiration Date 12/31/2019
Current Owners 1

County DUVAL
Total Pages 1

Events Filed NONE

FEWVEIN Number NONE

Mailing Address

8214 PRINCETON SQUARE BLVD.
JACKSONVILLE, FL 32256

Owner Information

BENTLEY GREEN APARTMENTS INVESTORS, LLC
5429 LBJ FREEWAY, SUITE 800

DALLAS,, TX 75240

FEVEIN Number

Document Number: M05000001162

Document Images

10/20/2014 -- Fictitious Name Filing} View image in PDF format

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No Filing History

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EXHIBIT

 

 

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